[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]MEMORANDUM OF DECISION
This is an action for wrongful entry and detainer pursuant to General Statutes § 47a-43. The complaint was tried to the court. The plaintiff does not seek any particular relief as provided by General Statutes §§ 47a-45a, 47a-46. Rather, the plaintiff seeks a determination that the defendant wrongfully locked him out of the dwelling he possessed. The plaintiff apparently seeks this determination to a aid him in the defense of criminal charges brought against him by the defendant. CT Page 5459
While the plaintiff appears to have been in possession of the premises on March 4, 1998, the date on which he claims to have been locked out,1 he has since vacated the dwelling. No practical relief, such as an injunction, writ of restitution or damages, is sought, no right to such relief was proven and, therefore, no relief may be awarded by the court. For this reason, the action must be dismissed. See Barszck v. Solnit,46 Conn. App. 112, 698 A.2d 358 (1997).
Levin, J. Judge of the Superior Court